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                                         Certificate Number: 13858-ILN-DE-037912961
                                         Bankruptcy Case Number: 23-13417


                                                        13858-ILN-DE-037912961




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on November 5, 2023, at 6:53 o'clock PM CST, Kimberly Brown
completed a course on personal financial management given by internet by
MoneySharp Credit Counseling Inc., a provider approved pursuant to 11 U.S.C.
111 to provide an instructional course concerning personal financial management
in the Northern District of Illinois.




Date:   November 5, 2023                 By:      /s/Christian Cotto


                                         Name: Christian Cotto


                                         Title:   Counselor
